                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

IRA D. SOCOL,                                               )
                                                            )
                              Plaintiff                     )
                                                            )
                                                            )
v.                                                          )       No. 3:18cv00090
                                                            )
                                                            )
ALBEMARLE COUNTY SCHOOL BOARD                               )
                                                            )
       and                                                  )
                                                            )
MATTHEW S. HAAS, individually and as                        )
    Superintendent of Albemarle County Public               )
    Schools,                                                )
                                                            )
                      Defendants.                           )
                                                            )

     MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE OR
               DISREGARD EXTRANEOUS MATERIALS

       Plaintiff Ira D. Socol, by counsel, requests that the Court grant its Motion to Strike or

Disregard Extraneous Materials, and in support thereof, states as follows:

                                PRELIMINARY STATEMENT

       Pursuant to the Court’s leave given during the January 28, 2019 hearing on Defendants’

Motion to Dismiss, Defendant filed a Supplemental Memorandum in Support of Defendants’

Motion to Dismiss (ECF No. 15) (the “Supplemental Memorandum”) for the purpose of

responding to the enhanced allegations made in the Amended Complaint (ECF No. 13) and the

argument offered in Plaintiff’s February 7, 2019 letter to the Court. The Supplemental

Memorandum grounds much of its argument in four exhibits: the press release (Exhibit A), the

report (Exhibit B), a March 6, 2018 email (Exhibit C), and a June 14, 2018 email (Exhibit D).


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The emails (Exhibits C and D, the “Emails”) are extraneous to the Amended Complaint in that

they are not integral to its allegations, directed towards factual questions irrelevant to the

sufficiency of the Amended Complaint, and tendentious absent the context provided by

discovery.

                                         ARGUMENT

       When a defendant moves to dismiss under Rule 12(b)(6), a court is “limited to

considering the sufficiency of allegations set forth in the complaint and the ‘documents attached

or incorporated into the complaint.’” Zak v. Chelsea Therapeutics Int'l, Ltd., 780 F.3d 597, 606

(4th Cir. 2015) (quoting E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 448

(4th Cir. 2011)). If a court goes beyond these documents during the pleading stage of litigation,

then it “improperly converts the motion to dismiss into a motion for summary judgment.” Id.

“Such conversion is not appropriate where the parties have not had an opportunity for reasonable

discovery.” E.I. du Pont de Nemours & Co., 637 F.3d at 448. Indeed, both parties have indicated

their desire to that the Court not convert Defendants’ Motion to Dismiss to a motion for

summary judgment.

       The Court may consider a document attached to a motion to dismiss if the document is

“integral to and explicitly relied on in the complaint,” and when the document's authenticity is

unchallenged. Zak, 780 F.3d at 606 (quoting Am. Chiropractic Ass'n v. Trigon Healthcare, Inc.,

367 F.3d 212, 234 (4th Cir. 2004)); see also Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159,

166, 2016 WL 2621262 (4th Cir. 2016) (finding that inclusion of quotes and references to a

document was not, by itself, enough to “integrate” the document wholesale). The press release

and report are referred to in the Amended Complaint and are integral to it. However, the Emails

are not integral to the Amended Complaint. The Amended Complaint only identifies the March


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6, 2018 email (Ex. C) to allege that it has been misconstrued by Defendants in the report, an

allegation that (i) should be accepted as true by the Court at this stage of the ligation and (ii) can

only be verified or falsified by placing that particular email in its wider context through

discovery. And the Amended Complaint does not even so much as allude to the June 14, 2018

email (Ex. D).

       Accordingly, the Emails should not be considered by the Court at this stage of the

litigation. Moreover, by attaching the Emails to the Supplemental Memorandum, Defendants

implicitly concede that they are unable to challenge the sufficiency of the allegations contained

in the Amended Complaint, and instead seek to challenge the accuracy of such allegations. But

the accuracy of such allegations is not properly before the Court on Defendants’ Motion to

Dismiss. At this stage of the litigation, neither the Plaintiff nor the Court are in a position to

evaluate the Emails in their full context (which would include subsequent emails in the same

email chain, as well as other evidence) without the benefit of discovery. Were to the Court to

consider the Emails on Defendants’ Motion to Dismiss, it would disadvantage the Plaintiff with

the very “information asymmetry” that discovery seeks to remedy. See Fed. R. Civ. 26(b),

advisory comm. notes (2015).

       Accordingly, Plaintiff Ira D. Socol respectfully moves the Court to strike Exhibits C and

D to the Supplemental Memorandum and any argument made pursuant to those exhibits, and

confine its inquiry on Defendants’ Motion to Dismiss solely to the sufficiency of Plaintiff’s

allegations contained in the Amended Complaint, assuming such allegations to be true and

giving the Plaintiff the benefit of every reasonable inference to be drawn from them.




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                                                  Respectfully Submitted,

                                                  Ira D. Socol
                                                  By Counsel

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                                CERTIFICATE OF SERVICE

               I hereby certify that on February 22, 2019, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system, which will send notification of such

filing to the attorneys registered with the ECF system.

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